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 6 United States of America

 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                          CASE NO. 1:23-CR-00014-NODJ-BAM
11
                                  Plaintiff,            STIPULATION REGARDING EXCLUDABLE
12                                                      TIME PERIODS UNDER SPEEDY TRIAL ACT;
                           v.                           FINDINGS AND ORDER
13
     PABLO VALENTE CASTANEDA, AND                       DATE: July 10, 2024
14   ANGELICA MARIE ROMO,                               TIME: 1:00 p.m.
                                                        COURT: Hon. Barbara A. McAuliffe
15                               Defendants.
16

17                                              STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendants, by and

19 through defendants’ counsel of record, hereby stipulate as follows:

20          1.     By previous order, this matter was set for status on July 10, 2024.

21          2.     By this stipulation, defendants now move to continue the status conference until

22 November 13, 2024, and to exclude time between July 10, 2024, and November 13, 2024, under 18

23 U.S.C. § 3161(h)(7)(A), B(iv) [Local Code T4].

24          3.     The parties agree and stipulate, and request that the Court find the following:

25                 a)      The government has represented that the discovery associated with this case

26          includes reports, photographs, and audio files. All of this discovery has been either produced

27          directly to counsel and/or made available for inspection and copying.

28                 b)      Counsel for defendants desire additional time to further review discovery, discuss


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 1           potential resolution with his client and the government, and investigate and prepare for trial.

 2                  c)      The parties believe that this case will resolve and request the court to grant one

 3           more status conference date in order to reach those resolutions. Both counsel for defendant and

 4           the government have been engaged in trials and due to this have not had adequate time to

 5           effectuate resolutions of the matter.

 6                  d)      Counsel for defendants believe that failure to grant the above-requested

 7           continuance would deny him/her the reasonable time necessary for effective preparation, taking

 8           into account the exercise of due diligence.

 9                  e)      The government does not object to the continuance.

10                  f)      Based on the above-stated findings, the ends of justice served by continuing the

11           case as requested outweigh the interest of the public and the defendant in a trial within the

12           original date prescribed by the Speedy Trial Act.

13                  g)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

14           et seq., within which trial must commence, the time period of July 10, 2024 to November 13,

15           2024, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

16           T4] because it results from a continuance granted by the Court at defendants’ request on the basis

17           of the Court’s finding that the ends of justice served by taking such action outweigh the best

18           interest of the public and the defendants in a speedy trial.

19                  h)      The parties also agree that this continuance is necessary for several reasons,

20           including but not limited to, the need to permit time for the parties to exchange supplemental

21           discovery, engage in plea negotiations, and for the defense to continue its investigation and

22           preparation, pursuant to 18 U.S.C. § 3161(h)(7)(A) and 3161(h)(7)(B)(i) and (iv).

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30      PERIODS UNDER SPEEDY TRIAL ACT
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 1          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 3 must commence.

 4          IT IS SO STIPULATED.

 5
     Dated: June 24, 2024                                    PHILLIP A. TALBERT
 6                                                           United States Attorney
 7
                                                             /s/ STEPHANIE M. STOKMAN
 8                                                           STEPHANIE M. STOKMAN
                                                             Assistant United States Attorney
 9
10   Dated: June 24, 2024                                    /s/ MARIO DISALVO
                                                             MARIO DISALVO
11                                                           Counsel for Defendant
12                                                           PABLO VALENTE
                                                             CASTANEDA
13

14   Dated: June 24, 2024                                    /s/ ANTHONY CAPOZZI
                                                             ANTHONY CAPOZZI
15                                                           Counsel for Defendant
                                                             ANGELICA MARIE ROMO
16

17
                                                     ORDER
18
            IT IS SO ORDERED that the status conference is continued from July 10, 2024, to November 13,
19

20 2024, at 1:00 p.m. in Courtroom 8 before Magistrate Judge Barbara A. McAuliffe. Time is excluded
21 pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv).

22

23 IT IS SO ORDERED.

24
        Dated:    June 28, 2024                               /s/ Barbara A. McAuliffe              _
25                                                     UNITED STATES MAGISTRATE JUDGE
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      STIPULATION REGARDING EXCLUDABLE TIME              3
30    PERIODS UNDER SPEEDY TRIAL ACT
